                             UNITED STATES DISTRICT COURT                      SUPPRESSED
                             EASTERN DISTRICT OF MISSOURI                                   FILED
                                   EASTERN DIVISION
                                                                                         AUG 2'1 2020
 UNITED STATES OF AMERICA,                         )
                                                                                        U.S. DISTRICT COURT
                                                   )                                  EASTERN DISTRICT OF MO
 Plaintiff,                                        )                                          ST.LOUIS
                                                   )   ,


 v.                                                )
                                                   )
                                                           4:20CR450 JAR/DDN
 AKEEM PETERS,                                     )
                                                   )
 Defendant.                                        )

                                        INDICTMENT

                                           COUNT I

        The Grand Jury charges that:

        On or about May 14, 2020, in the County of St. Louis, within the Eastern District of

Missouri,

                                       AKEEM PETERS,

the Defendant herein, knowing he had previously been convicted in a court of law of one or more

crimes punishable by a term of imprisonment exceeding one year, knowingly possessed a firearm,

and that firearm previously traveled in interstate or foreign commerce during or prior to being in

defendant's possession.

       In violation of Title 18, United States Code, Section 922(g)(l).

                                             A TRUE BILL.


                                             FOREPERSON

JEFFREY B. JENSEN
United States Attorney


ANTHONY FRANKS #50217MO
Assistant United States Attorney
